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                                                  5   Facsimile: (619) 696-7124
                                                  6   Attorneys for Debtor
                                                      S.T. Moll, Inc. d/b/a Integrity Tire Auto Service Center
                                                  7

                                                  8                            UNITED STATES BANKRUPTCY COURT
                                                  9                             CENTRAL DISTRICT OF CALIFORNIA
                                                 10                                       RIVERSIDE DIVISION
                                                 11   In re:                            )               CASE NO. 6:14-BK-12175-MJ
        W. Broadway 2000




                                                                                        )
                           San Diego, CA 92101
               CA 92101




                                                 12
                   LLP




                                                                                        )               Chapter 11
               ReesLLP
                  Suite




                                                                                        )
        Diego,2000




                                                 13
            &Rees




                                                                                        )               AMENDED PLAN OF
    W. Broadway,




                                                      S.T. MOLL, INC.,                  )               REORGANIZATION PROPOSED BY
    Gordon&




                                                 14
    San Suite




                                                      D/B/A INTEGRITY TIRE AUTO SERVICE )               DEBTOR
   Gordon




                                                      CENTER,                           )
                                                 15
101 101




                                                                                        )               Disclosure Statement Hearing:
                                                                                        )               Date: April 29, 2015
                                                 16                                     )               Time: 1:30 p.m.
                                                                                        )               Courtroom: 301
                                                 17                         Debtor.     )               Judge: Meredith A. Jury
                                                                                        )
                                                 18                                     )               Plan Confirmation Hearing:
                                                                                        )               Date: July 29, 2015
                                                 19                                     )               Time: 1:30 p.m.
                                                                                        )               Courtroom: 301
                                                 20                                     )               Judge: Meredith A. Jury
                                                 21

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                                                      11 United States Code
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                                                  1                                           I.       GENERAL
                                                  2   1.1.    Defined Terms
                                                  3           1.1.1. Administrative Claim: A claim for costs and expenses of administration under
                                                  4   §§ 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary

                                                  5   costs and expenses incurred on or after the Petition Date of preserving the estate and assets of

                                                  6   Debtor (including, but not limited to, wages, salaries or commissions for services and payments

                                                  7   for goods and other services); (b) compensation for legal, financial advisory, accounting and

                                                  8   other services and reimbursement of expenses awarded or allowed under §§ 330(a) or 331 of the

                                                  9   Bankruptcy Code; and (c) all fees and charges assessed against the estate under chapter 123 of

                                                 10   Title 28 United States Code, 28 U.S.C. §§ 1911-1930.

                                                 11           1.1.2. Allowed: With respect to Claims, any Claim that (i) has been scheduled by
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   Debtor in its schedules of liabilities as other than disputed, contingent or unliquidated and as to
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13   which Debtor or other party in interest has not filed an objection; (ii) was filed on or before the
            &Rees
    W. Broadway,
    Gordon&




                                                 14   Claims Bar Date or filed after such date with leave of Court to which a timely objection has not
    San Suite
   Gordon




                                                 15   been filed; (iii) has been allowed by a Final Order, or by stipulation as to the amount and nature
101 101




                                                 16   of Claim executed with Debtor on or after the Effective Date; (iv) relates to a rejected executory

                                                 17   contract or unexpired lease as to which Debtor or other party in interest has not filed an

                                                 18   objection, or has been allowed by a Final Order, in either case only if a proof of claim has been
                                                 19   timely filed under applicable law; or (v) a Claim that is allowed pursuant to the terms of this

                                                 20   Plan.

                                                 21           1.1.3. Bankruptcy Code: Title 11 of the United States Code, as amended from time to
                                                 22   time, as set forth in §§ 101 et seq. of Title 11 of the United States Code, and applicable portions

                                                 23   of Titles 18 and 28 of the United States Code.

                                                 24           1.1.4. Bankruptcy Rule(s): The Federal Rules of Bankruptcy Procedure, as amended
                                                 25   from time to time, as applicable to Debtor’s case, promulgated under 28 U.S.C. § 2075 and the

                                                 26   Local Rules of the Court.

                                                 27           1.1.5. Case: Debtor’s Chapter 11 case, designated as 6:14-bk-12175-MJ, pending
                                                 28   before the Court.

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                                                  1            1.1.6. Claim: A claim (as defined in § 101(5) of the Bankruptcy Code) against Debtor,
                                                  2   including, but not limited to: (a) any right to payment from Debtor whether or not such right is

                                                  3   reduced to judgment, liquidated, unliquidated, contingent, matured, unmeasured, disputed,

                                                  4   undisputed, legal, equitable, secured or unsecured; or (b) any right to an equitable remedy for

                                                  5   breach of performance if such performance gives rise to a right of payment from Debtor, whether

                                                  6   or not such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,

                                                  7   unmeasured, disputed, undisputed, secured or unsecured. “Claim” shall not include unmatured or

                                                  8   unearned interest as of the Petition Date on the amount of any Claim except as permitted by the

                                                  9   Bankruptcy Code or except as expressly provided otherwise in this Plan.

                                                 10            1.1.7. Claims Bar Date: May 27, 2014, the bar date for filing proofs of claim, as
                                                 11   established by the Court.
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12            1.1.8. Claimholder: This shall mean a Holder of a Claim.
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13            1.1.9. Class: A category of Holders of Claims or Interests as set forth in Section III of
            &Rees
    W. Broadway,
    Gordon&




                                                 14   the Plan.
    San Suite
   Gordon




                                                 15            1.1.10. Confirmation Date: The date on which the Confirmation Order becomes a Final
101 101




                                                 16   Order.

                                                 17            1.1.11. Confirmation Order: The Order entered by the Court confirming the Plan in
                                                 18   accordance with the provisions of Chapter 11 of the Bankruptcy Code.
                                                 19            1.1.12. Creditor: A person who holds a Claim against Debtor or Debtor’s Estate.
                                                 20            1.1.13. Court: This shall mean the United State Bankruptcy Court Central District of
                                                 21   California, Riverside Division.

                                                 22            1.1.14. Debtor: S.T. Moll, Inc. d/b/a Integrity Tire Auto Service Center.
                                                 23            1.1.15. Disclosure Statement: The Disclosure Statement for the Plan, to be filed and as
                                                 24   amended, supplemented, or modified from time to time, describing the Plan, that is prepared and

                                                 25   distributed in accordance with §§ 1125 and 1126(b) of the Bankruptcy Code and Bankruptcy

                                                 26   Rule 3018 and/or other applicable law.

                                                 27            1.1.16. Disputed Claim: Any Claim: (a) listed on the Schedules as unliquidated, disputed
                                                 28   or contingent; or (b) as to which Debtor or any other party in interest have interposed a timely

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                                                  1   objection or request for estimation in accordance with the Bankruptcy Code and the Bankruptcy

                                                  2   Rules or is otherwise disputed by Debtor in accordance with applicable law, which objection,

                                                  3   request for estimation or dispute has not been withdrawn or determined by a Final Order.

                                                  4           1.1.17. Distribution: Payment(s) to creditors by the Debtor as required by this Plan.
                                                  5           1.1.18. Effective Date: The later of the first business day thirty (30) days after the
                                                  6   Confirmation Date or September 30, 2015.

                                                  7           1.1.19. Equity Holder or Equity Interest Holder: This shall mean the Holder of an
                                                  8   Equity Interest in Debtor.

                                                  9           1.1.20. Equity Interest: Equity security interest in Debtor and any warrant or right to
                                                 10   purchase, sell or subscribe to an Equity Interest.

                                                 11           1.1.21. Estate: The bankruptcy estate of Debtor created upon commencement of the
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   Case pursuant to § 541(a) of the Bankruptcy Code.
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13           1.1.22. Final Decree: Shall mean the decree contemplated under Bankruptcy Rule 3022.
            &Rees
    W. Broadway,
    Gordon&




                                                 14           1.1.23. Final Order: An order no longer subject to appeal, review or certiorari
    San Suite
   Gordon




                                                 15   proceedings.
101 101




                                                 16           1.1.24. General Unsecured Creditors: Holders of Unsecured Claims.
                                                 17           1.1.25. Gordon & Rees: Gordon & Rees LLP, general bankruptcy counsel for Debtor.
                                                 18           1.1.26. Holder: A person holding a Claim or Interest.
                                                 19           1.1.27. Impaired: Shall have the meaning provided in § 1124 (1) of the Bankruptcy
                                                 20   Code.

                                                 21           1.1.28. Landlords: The lessors under unexpired leases for real property pursuant to
                                                 22   which Debtor is lessee.

                                                 23           1.1.29. Local Rules: Shall have the meaning of the Local Rules of the United States
                                                 24   Bankruptcy Court, Central District of California.

                                                 25           1.1.30. Lien: Shall have the meaning provided for by § 101(37) of the Bankruptcy Code.
                                                 26           1.1.31. Net Proceeds: Shall have the meaning of such amounts collected from the sale or
                                                 27   liquidation of assets after payment of all costs and expenses of such sale or liquidation, including
                                                 28   without limitation, attorney’s fees.

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                                                  1          1.1.32. Petition Date: Shall mean February 23, 2014, the date on which Debtor filed its
                                                  2   Chapter 11 petition commencing this Case.

                                                  3          1.1.33. Plan: This Chapter 11 plan of reorganization, either in its present form or as it
                                                  4   may be altered, amended or modified in accordance with the Bankruptcy Code.

                                                  5          1.1.34. Priority Tax Claim: A Claim of a governmental unit of the kind specified in §
                                                  6   507(a)(8) of the Bankruptcy Code.

                                                  7          1.1.35. Priority Wage Claim: Any Claim for wages, salaries or commissions accorded
                                                  8   priority in right of payment under § 507(a)(4)(A) of the Bankruptcy Code.

                                                  9          1.1.36. Professional: Any professional employed in this Case pursuant to §§ 327, 328,
                                                 10   or 1103 of the Bankruptcy Code or otherwise, and (b) any professional or other entity seeking

                                                 11   compensation and reimbursement of expenses in connection with this Case pursuant to §
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   503(b)(4) of the Bankruptcy Code.
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13          1.1.37. Professional Fee Claim: A Claim of a Professional for compensation for
            &Rees
    W. Broadway,
    Gordon&




                                                 14   services rendered or reimbursement of costs, expenses, or other charges incurred on and after the
    San Suite
   Gordon




                                                 15   Petition Date and prior to the Effective Date.
101 101




                                                 16          1.1.38. Pro Rata: With respect to any (a) creditor, that proportion which the Allowed
                                                 17   Claim of such creditor bears to the sum of all Allowed Claims in the same class as the creditor’s

                                                 18   Allowed Claim.
                                                 19          1.1.39. Quarterly UST Fees: Post-confirmation quarterly fees owing to the United
                                                 20   States Trustee Program pursuant to 28 U.S.C. § 1930(a)(6).

                                                 21          1.1.40. Schedules: Bankruptcy schedules of assets and liabilities, the list of Holders of
                                                 22   Interests, and the statement of financial affairs filed by Debtor pursuant to § 521 of the

                                                 23   Bankruptcy Code and the Bankruptcy Rules, as such schedules have been or may be further

                                                 24   modified, amended or supplemented in accordance with Bankruptcy Rule 1009 or orders of the

                                                 25   Bankruptcy Court.

                                                 26          1.1.41. Unimpaired: Shall mean that the Class is treated under the Plan in accordance
                                                 27   with § 1124(1) of the Bankruptcy Code.
                                                 28          1.1.42. Unsecured Claim: Any Claim against Debtor that is not an Administrative

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                                                  1   Claim, Priority Tax Claim or Priority Wage Claim, including without limitation any Claims

                                                  2   arising from the rejection of executory contracts and/or unexpired leases and including any

                                                  3   allegedly secured but unperfected Claims that are not otherwise dealt with in this Plan.

                                                  4          1.1.43. UST: Shall mean the Office of the United States Trustee for the Central District
                                                  5   of California.

                                                  6   1.2.   Rules of Interpretation, Computation of Time and Governing Law
                                                  7          1.2.1     Rules of Interpretation. For purposes of the Plan: (a) whenever from the context
                                                  8   it is appropriate, each term, whether stated in the singular or the plural, shall include both the

                                                  9   singular and the plural, and pronouns stated in the masculine, feminine or neuter gender shall

                                                 10   include the masculine, feminine and the neuter gender; (b) any reference in the Plan to a contract,

                                                 11   instrument, release, indenture or other agreement or document being in a particular form or on
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   particular terms and conditions means that such document shall be substantially in such form or
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13   substantially on such terms and conditions; (c) any reference in the Plan to an existing document
            &Rees
    W. Broadway,
    Gordon&




                                                 14   or exhibit filed, or to be filed, shall mean such document or exhibit, as it may have been or may
    San Suite
   Gordon




                                                 15   be amended, modified or supplemented; (d) unless otherwise specified, all references in the Plan
101 101




                                                 16   to Sections and Exhibits are references to Sections and Exhibits of or to the Plan; (e) the words

                                                 17   “herein” and “hereto” refer to the Plan in its entirety rather than to a particular portion of the

                                                 18   Plan; (f) captions and headings to Sections and paragraphs are inserted for convenience of
                                                 19   reference only and are not intended to be a part of or to affect the interpretation of the Plan; (g)

                                                 20   the rules of construction set forth in § 102 of the Bankruptcy Code shall apply; and (h) any term

                                                 21   used in capitalized form in the Plan that is not defined herein but that is used in the Bankruptcy

                                                 22   Code or the Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy

                                                 23   Code or the Bankruptcy Rules, as the case may be.

                                                 24          1.2.2     Computation of Time. In computing any period of time prescribed or allowed
                                                 25   by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

                                                 26          1.2.3. Governing Law. Except to the extent that the Bankruptcy Code or Bankruptcy
                                                 27   Rules are applicable, and subject to the provisions of any contract, instrument, release, indenture
                                                 28   or other agreement or document entered into in connection with the Plan, the rights and

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                                                  1   obligations arising under the Plan shall be governed by, and construed and enforced in

                                                  2   accordance with, the laws of the State in which the court resides, without giving effect to the

                                                  3   principles of conflict of laws thereof.

                                                  4                                        II.    INTRODUCTION
                                                  5   2.1.     Procedural Background
                                                  6            S.T. Moll, Inc. is the Debtor in this Chapter 11 Case. On February 23, 2014, Debtor

                                                  7   commenced this Case by filing a voluntary petition under Chapter 11 of the Bankruptcy Code.

                                                  8   This document is the Plan and is proposed by Debtor. This Plan provides for the allocation and

                                                  9   distribution of the remaining proceeds of the pre-confirmation sales, liquidation of Debtor’s

                                                 10   remaining assets, and treatment of the outstanding Allowed Claims and Equity Interests.

                                                 11   Reference is made to the Disclosure Statement, distributed contemporaneously herewith, for a
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   discussion of (i) Debtor’s history, (ii) Debtor’s former business and operations, (iii) events
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               ReesLLP
                  Suite
        Diego,2000




                                                 13   precipitating the commencement of this Case, (iv) major events occurring during the pendency of
            &Rees
    W. Broadway,
    Gordon&




                                                 14   Debtor’s Case, (v) a summary and analysis of this Plan, and (vi) certain related matters,
    San Suite
   Gordon




                                                 15   including risk factors relating to the projected payments under this Plan.
101 101




                                                 16            All Holders of Claims who are eligible to vote on the Plan are encouraged to read this

                                                 17   Plan and the accompanying Disclosure Statement, including all exhibits thereto, in their entirety

                                                 18   before voting to accept or reject the Plan. Subject to certain restrictions and requirements set
                                                 19   forth in § 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, Debtor reserves the right to

                                                 20   alter, amend, modify, revoke, or withdraw this Plan, prior to its substantial consummation.

                                                 21            This is a plan of reorganization. In other words, the Plan provides for In other words, the

                                                 22   Plan provides for the ongoing operation of Debtor’s business and a Distribution to Holders of

                                                 23   Allowed Claims from Debtor’s operations. The Plan provides for Distributions to Holders of

                                                 24   Allowed Claims.

                                                 25          III.   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS
                                                 26   3.1.     General Overview
                                                 27            As required by the Bankruptcy Code, the Plan classifies Claims and Interests in various
                                                 28   classes according to their right to priority of payments as provided in the Bankruptcy Code. The

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                                                  1   Plan states whether each Class of Claims or Interests is Impaired or Unimpaired. The Plan

                                                  2   provides the treatment of each Class will receive under the Plan.

                                                  3   3.2.   Unclassified Claims
                                                  4          Certain types of Claims are not placed into voting classes; instead they are unclassified.

                                                  5   They are not considered Impaired and they do not vote on the Plan because they are

                                                  6   automatically entitled to specific treatment pursuant to the Bankruptcy Code. As such, the Plan

                                                  7   Proponent has not placed the following Claims into classes. The treatment of these Claims is

                                                  8   provided below.

                                                  9          (i)     Administrative Claims
                                                 10          Administrative Claims are Claims for costs or expenses of administering the Debtor’s

                                                 11   Case which are allowed under § 503. The Bankruptcy Code requires that all Administrative
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                           San Diego, CA 92101
               CA 92101




                                                 12   Claims be paid on the Effective Date of the Plan, unless a particular claimant agrees to a
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               ReesLLP
                  Suite
        Diego,2000




                                                 13   different treatment. Administrative Claim Holders have agreed to the treatment of
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    W. Broadway,
    Gordon&




                                                 14   Administrative Claims as set forth below in the following Chart:
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   Gordon




                                                 15
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                                                                                            Amount
                                                                 Name                         Owed                      Treatment
                                                 16   Gordon & Rees LLP                  Est.           Paid in full on Effective Date, or within
                                                                                         $80,000.00     fourteen days of allowance, unless paid
                                                 17                                                     prior.
                                                      Corporate Recovery Associates,     Est.           Paid in full on Effective Date, or within
                                                 18   LLC                                $50,000.00     fourteen days of allowance, unless paid
                                                                                                        prior.
                                                 19   Internal Revenue Service           $7,785.47      Debtor believes this amount has been
                                                                                                        paid. To the extent Debtor has not paid
                                                 20                                                     any postpetition administrative tax
                                                                                                        claims, such claims will be paid on the
                                                 21                                                     Effective Date.
                                                 22   Granite Village West               $0.00          Debtor is current on all postpetition
                                                                                                        payments to Granite Village West and
                                                 23                                                     does not anticipate that Granite Village
                                                                                                        West will hold an administrative claim.
                                                 24   Stater Bros.                       $0.00          Debtor is current on all postpetition
                                                                                                        payments to Stater Bros. and does not
                                                 25                                                     anticipate that Stater Bros. will hold an
                                                                                                        administrative claim.
                                                 26   Clerk’s Office Fees                TBD            Paid in full on Effective Date unless paid
                                                                                                        prior.
                                                 27   Office of the U.S. Trustee         Est. $5,000.00 Paid in full on Effective Date unless paid
                                                      Fees                                              prior.
                                                 28   TOTAL                               $142,785.47

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                                                  1          Court Approval of Fees Required:

                                                  2          For all fees except Clerk’s Office fees and United States Trustee’s fees, the professional

                                                  3   in question must file and serve a properly noticed fee application and the Court must rule on the

                                                  4   application. Only the amount of fees Allowed by the Court will be owed and required to be paid

                                                  5   under this Plan.

                                                  6          (ii)    Priority Tax Claims
                                                  7          Priority Tax Claims are certain unsecured income, employment and other taxes described

                                                  8   by § 507(a)(8) of the Bankruptcy Code. The following chart lists all of the Debtor’s Priority Tax

                                                  9   Claims and their treatment under the Plan.

                                                 10         Description             Amount Owed                         Treatment
                                                      Board of Equalization          $73,654.64        The Board of Equalization shall be paid in
                                                 11   Special Taxes and Fees                           monthly installments of $1,235.39 over a
        W. Broadway 2000




                                                      P.O. Box 942879                                  period not to exceed five years from the
                           San Diego, CA 92101
               CA 92101




                                                 12
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                                                      Sacramento, CA 94279-                            Petition Date with interest at the federal
                                                      0055                                             judgment rate.
        Diego,2000




                                                 13
            &Rees
    W. Broadway,




                                                      Government Taxes/Fees
    Gordon&




                                                 14
    San Suite




                                                      Date tax assessed:
   Gordon




                                                      Unknown
                                                 15
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                                                      Internal Revenue               $163,495.55       The Internal Revenue Service filed Claim
                                                 16   Service                                          No. 5 and asserts a priority claim of
                                                      P.O. Box 7346                                    $289,248.63. Mr. Moll filed a Chapter 13
                                                 17   Philadelphia, PA 19101-                          case before the Court, Case No. 14-20002-
                                                      7346                                             MJ. In that case, Mr. Moll’s confirmed plan
                                                 18                                                    provides for payment to the IRS of
                                                      Government Taxes/Fees                            $125,753.08 for the same amounts claimed
                                                 19                                                    through Claim No. 5.
                                                      Date tax assessed:
                                                 20   Unknown                                          The IRS shall be paid in equal monthly
                                                                                                       installments of $3,801.37 over a period not
                                                 21                                                    to exceed five years from the Petition Date
                                                                                                       with interest at the federal judgment rate.
                                                 22   Employee Development            $24,741.00       The Board of Equalization shall be paid in
                                                      Dept.                                            monthly installments of $575.24 over a
                                                 23   P.O. Box 8268880                                 period not to exceed five years from the
                                                      Sacramento, CA 94280-                            Petition Date with interest at the federal
                                                 24   0001                                             judgment rate.

                                                 25   Government Taxes/Fees

                                                 26   Date tax assessed:
                                                      Unknown
                                                 27   TOTAL                          $261,891.19

                                                 28

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                                                  1   3.3.           Classified Claims and Interests
                                                  2                  (i)       Classes of Secured Claims
                                                  3                  Secured Claims are claims secured by Liens on property of the Estate. The following

                                                  4   chart lists all classes containing Debtor’s secured prepetition Claims and their treatment under

                                                  5   this Plan.

                                                  6   CLASS#                   DESCRIPTION               INSIDERS        IMPAIRED              TREATMENT
                                                                                                           (Y/N)           (Y/N)
                                                  7          1              Secured claim of:               No              Yes            SMS’s claim shall
                                                                                                                                           accrue interest at
                                                  8                         Secured claim of:                                              the rate of 5% per
                                                                                                                                           annum. SMS shall
                                                  9                         SMS Financial, LLC                                             be paid in monthly
                                                                                                                                           installments of
                                                 10                         Collateral includes all                                        $2,598.59 through
                                                                            of the personal property                                       November 22,
                                                 11                         of the Debtor, including                                       2020, followed by
        W. Broadway 2000




                                                                            without limitation                                             one monthly
                           San Diego, CA 92101
               CA 92101




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               ReesLLP
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                                                                            equipment, inventory                                           payment of
                                                                            and accounts                                                   $2,040.93 in
        Diego,2000




                                                 13
            &Rees
    W. Broadway,




                                                                            receivables.                                                   accordance with the
                                                                                                                                           stipulation by and
    Gordon&




                                                 14
    San Suite




                                                                            Priority of security int.:                                     between Debtor and
   Gordon




                                                                            First                                                          SMS filed with the
                                                 15
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                                                                                                                                           Court until paid in
                                                                            Claim Amount:                                                  full. .
                                                 16                         $153,327.56 less
                                                                            payments made through
                                                 17                         the Effective Date
                                                 18                         Post-pet. arrearage
                                                                            amount: $0.00
                                                 19

                                                 20                  (ii)      Classes of Priority Unsecured Claims
                                                 21                  Certain Priority Unsecured Claims that are referred to in §§ 507(a)(3), (4), (5), (6), and
                                                 22   (7) of the Bankruptcy Code are required to be placed in classes. The following chart lists all
                                                 23   classes containing Debtor’s §§ 507(a)(3), (4), (5), (6), and (7) Priority Unsecured Claims and
                                                 24   their treatment under this Plan.
                                                 25                                                            IMPAIRED
                                                       CLASS #                        DESCRIPTION                               TREATMENT
                                                                                                                  (Y/N)
                                                 26                                                            Not
                                                                             Debtor Does Not Have Any
                                                                 2                                             Applicable Not Applicable
                                                 27                          Priority Unsecured Claims

                                                 28

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                                                  1          (iii)   Class of Landlord Claims
                                                  2          The prepetition unsecured claims of Debtor’s Landlords, Granite Village West and Stater

                                                  3   Bros., are impaired under the Plan and, as such, are entitled to vote. Debtor intends to assume its

                                                  4   unexpired leases for real property pursuant to § 365.

                                                  5      CLASS #             DESCRIPTION                 IMPAIRED       TREATMENT
                                                                                                           (Y/N)
                                                  6          3        Granite Village West                   Y    Paid in full within three
                                                                                                                  months of the Effective
                                                  7                   Claim Amount: $3,771.71                     Date of the Plan
                                                  8          3        Stater Bros.                            Y         Paid in full within three
                                                                                                                        months the Effective Date
                                                  9                   Claim Amount: $1,697.90                           of the Plan
                                                 10          (iv)    Class of Premium Performance Enterprises, Inc.
                                                 11          Prepetition, Debtor purchased two store locations from Premium Performance
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               CA 92101




                                                 12   Enterprises, Inc. (“PPE”), one at 1061 E. Arrow Highway, Glendora, CA (the “Glendora Store”)
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                  Suite
        Diego,2000




                                                 13   and 476 West Valley Blvd., Rialto, CA (the “Rialto Store,” collectively with the Glendora Store,
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    Gordon&




                                                 14   the “PPE Stores”). As part of the transaction, Debtor granted PPE a security interest in the
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   Gordon




                                                 15   inventory, furnishings, fixtures, accounts receivable, vehicles and equipment located at the PPE
101 101




                                                 16   Stores (collective, the “PPE Collateral”). Mr. Moll executed a guaranty of Debtor’s obligations

                                                 17   to PPE. Debtor sold the PPE Stores, including the PPE Collateral, with the knowledge of PPE.

                                                 18   PPE asserts that it holds a secured claim in the amount of $137,862.82. Debtor disputes PPE’s
                                                 19   assertion as the PPE Collateral remained with the PPE Stores sold prepetition and submits that

                                                 20   PPE holds an unsecured claim. Debtor filed an objection to the classification of PPE’s claim and

                                                 21   seeking to reclassify PPE’s claim as unsecured. The objection has been resolved through the

                                                 22   treatment of PPE’s claim set forth herein.

                                                 23      CLASS #        DESCRIPTION                IMPAIRED                 TREATMENT
                                                 24                                                  (Y/N)
                                                 25          4        Premium                          Y           Debtor shall disburse to PPE a
                                                                      Performance                                  payment of $5,000 on or before
                                                 26                   Enterprises, Inc.                            the Effective Date. Debtor shall
                                                 27                   claim                                        also make quarterly payments of
                                                                                                                   monthly amount $1,065.52,
                                                 28                   Claim Amount:                                totaling $3,196.57 per quarter,
                                                                      $137,862.82, which                           payable each quarter for five
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                                                  1                     is allowed and will                           years. PPE will receive
                                                                        not be objected to                            distributions of 50% on account
                                                  2                                                                   of its allowed claim, totaling
                                                  3                                                                   $68,931.41 (including the $5,000
                                                                                                                      paid on the Effective Date), with
                                                  4                                                                   no interest.

                                                  5
                                                               (v)     Class of General Unsecured Claims
                                                  6
                                                               The Allowed General Unsecured Claims are impaired under the Plan and, as such, are
                                                  7
                                                      entitled to vote under the Plan. The Allowed General Unsecured Claims are unsecured claims
                                                  8
                                                      not entitled to priority under § 507(a). Debtor anticipates distributions to unsecured creditors of
                                                  9
                                                      approximately 25% of their claims from quarterly distributions (see Exhibit B of the Disclosure
                                                 10
                                                      Statement for detailed information about each General Unsecured Claim). Debtor anticipates no
                                                 11
        W. Broadway 2000




                                                      funds will remain to make Distributions to any Holders of any Allowed General Unsecured
                           San Diego, CA 92101
               CA 92101




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                                                      Claims.
        Diego,2000




                                                 13
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                                                                                                  IMPAIRED
                                                      CLASS #            DESCRIPTION                                          TREATMENT
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                                                 14
    San Suite




                                                                                                    (Y/N)
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                                                           5          General Unsecured               Y              Debtor shall Disburse to Holders
                                                 15
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                                                                      Claims                                         of Allowed General Unsecured
                                                                                                                     Creditors a monthly amount of
                                                 16                   Claim Amount:                                  $1,209.15, totaling $3,627.47per
                                                                      $288,891.26                                    quarter, payable each quarter for
                                                 17                                                                  five years. Each Holder of an
                                                                                                                     Allowed Unsecured Claim will
                                                 18                                                                  receive its pro rata share of the
                                                                                                                     quarterly amount disbursed.
                                                 19                                                                  Debtor estimates Holders of
                                                                                                                     Allowed Unsecured Claims will
                                                 20                                                                  receive estimated distributions of
                                                                                                                     25% on account of each claim,
                                                 21                                                                  with no interest.
                                                 22
                                                               (vi)    Class of Equity Interest Holders
                                                 23
                                                               Interest holders are the parties who hold an ownership interest (i.e., Equity Interest) in the
                                                 24
                                                      debtor. If the debtor is a corporation, entities holding preferred or common stock in the debtor
                                                 25
                                                      are interest holders. If the debtor is a partnership, the interest holders include both general and
                                                 26
                                                      limited partners. If the debtor is an individual, the debtor is the interest holder.
                                                 27
                                                 28

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                                                  1          Debtor is owned by Mr. Steven W. Moll. Mr. Moll will retain his equity interest. Mr.

                                                  2   Moll will pay a significant portion, $125,753.08, of the priority claim asserted by the Internal

                                                  3   Revenue Service.

                                                  4          The following chart identifies this Plan’s treatment of the class of interest holders:

                                                  5          CLASS #                 DESCRIPTION                IMPAIRED             TREATMENT
                                                                                                                  (Y/N)
                                                  6                  6            Equity Interest holders           N              Equity will retain
                                                                                                                                   its interest. Equity
                                                  7                                                                                will contribute new
                                                                                                                                   value.
                                                  8

                                                  9   3.4.   Means of Performing the Plan
                                                 10          (i)         Funding for the Plan
                                                 11          The Plan will be funded by cash on hand and revenues from Debtor’s operating business.
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                           San Diego, CA 92101
               CA 92101




                                                 12
                   LLP




                                                             (ii)         Post-Confirmation Management
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                  Suite
        Diego,2000




                                                 13          From and after the Effective Date, Debtor’s management, specifically Mr. Steven W.
            &Rees
    W. Broadway,
    Gordon&




                                                 14   Moll, shall continue to manage Debtor
    San Suite
   Gordon




                                                 15          (iii)       Disbursing Agent
101 101




                                                 16          Debtor shall be appointed as the disbursing agent under the Plan as the Plan calls for
                                                 17   Distributions. Debtor, at the direction of Steven W. Moll, will issue the payments called for
                                                 18   under the Plan. Debtor, as the disbursing agent, shall serve without bond and shall receive no
                                                 19   compensation for distribution services rendered and expenses incurred pursuant to the Plan.
                                                 20                         IV.    TREATMENT OF MISCELLANEOUS ITEMS
                                                 21   4.1.   Executory Contracts and Unexpired Lease
                                                 22          Upon the Effective Date, Debtor hereby assumes its leases with the Landlords and its
                                                 23   Independent Dealer Agreement with Goodyear Tire & Rubber. All other unexpired leases and
                                                 24   executory contracts shall be deemed rejected by the Debtor.
                                                 25          Claims arising from the executory contracts rejected by Debtor shall be forever barred
                                                 26   and shall not be enforceable against Debtor, its successors, Estate, and property, unless a proof of
                                                 27   claim is filed with the Bankruptcy Court and actually received by the Debtor on or before the
                                                 28   later of thirty (30) days after the Effective Date or as otherwise ordered by the Bankruptcy Court.

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                                                  1   Claims arising from the rejection of executory contracts for which proofs of claim are required to

                                                  2   be filed will be, and will be treated as a General Unsecured Claim. Objections to rejection

                                                  3   Claims shall be filed within one-hundred twenty (120) days after the Effective Date.

                                                  4          The order confirming the Plan shall constitute an Order approving the rejection of the

                                                  5   lease or contract. If you are a party to a contract or lease to be rejected and you object to the

                                                  6   rejection of your contract or lease, you must file and serve your objection to the Plan within the

                                                  7   deadline for objecting to the confirmation of the Plan. THE BAR DATE FOR FILING A

                                                  8   PROOF OF CLAIM BASED ON A CLAIM ARISING FROM THE REJECTION OF A LEASE

                                                  9   OR CONTRACT IS THIRTY (30) DAYS FROM THE EFFECTIVE DATE. Any Claim based

                                                 10   on the rejection of a contract or lease will be barred if the proof of claim is not timely filed,

                                                 11   unless the Court later orders otherwise
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                           San Diego, CA 92101
               CA 92101




                                                 12   4.2.   Objections to Claims
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               ReesLLP
                  Suite
        Diego,2000




                                                 13          Following the Effective Date, the Debtor may object to the allowance of any claim
            &Rees
    W. Broadway,
    Gordon&




                                                 14   against the Debtor. Debtor may, at any time up to 180 days after the Effective Date, file an
    San Suite
   Gordon




                                                 15   objection to any Claim that in the Debtor’s opinion should be rejected in whole or in part. Upon
101 101




                                                 16   the filing of any such objection, such Claim will be considered a Disputed Claim.

                                                 17   4.3.   Deadline for Filing Claims
                                                 18          The last day for filing proofs of claims against the Debtor was May 27, 2014, the Claims
                                                 19   Bar Date fixed by the Bankruptcy Court.

                                                 20   4.4.   Changes in Rates Subject to Regulatory Commission Approval
                                                 21          This Debtor is not subject to governmental regulatory commission approval of its rates.

                                                 22   4.5.   Retention of Jurisdiction
                                                 23          The Court will retain jurisdiction to the extent provided by law.

                                                 24                          V.      EFFECT OF CONFIRMATION OF PLAN
                                                 25   5.1.   Discharge
                                                 26          Except as otherwise provided in the Plan or in the Confirmation Order, Confirmation of

                                                 27   the Plan will operate as a discharge of all Claims against Debtor that arose at any time before
                                                 28   Confirmation. The discharge will be effective as to all Claims, regardless of whether a proof of

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                                                  1   claim therefore was filed, whether the Claim is an Allowed Claim, or whether the Holder of the

                                                  2   Claim votes to accept the Plan. All Holders of Allowed Claims and Equity Interest are

                                                  3   prohibited and enjoined from bringing any action that involves any claim for relief or case of

                                                  4   action against Debtor and/or its respective successors and assigns, in any court other than the

                                                  5   Bankruptcy Court.

                                                  6   5.2.    Modification of Plan
                                                  7           Debtor may propose amendments or modifications of this Plan at any time prior to entry

                                                  8   of the Confirmation Order. Any provisions that the Court may render this Plan unconfirmable

                                                  9   may be severed or altered at the option of Debtor. After entry of the Confirmation Order, Debtor

                                                 10   may, with approval of the Court, and so long as it does not materially and adversely affect a

                                                 11   Claim Holder, remedy any defect or omission, or reconcile inconsistencies in the Plan or in the
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   Confirmation Order, in such a manner as may be necessary to carry out the purposes and intent
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               ReesLLP
                  Suite
        Diego,2000




                                                 13   of the Plan. However, the Court may require a new disclosure statement and/or revoting on the
            &Rees
    W. Broadway,
    Gordon&




                                                 14   Plan if Debtor modifies the Plan before confirmation.
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   Gordon




                                                 15           Debtor may also seek to modify the Plan at any time after confirmation so long as (1) the
101 101




                                                 16   Plan has not been substantially consummated and (2) if the Court authorizes the proposed

                                                 17   modifications after notice and a hearing.

                                                 18   5.3.    Discontinuance of Retention of Professional Employed by Debtor
                                                 19           Debtor may retain such Professionals as it deems appropriate and necessary to complete

                                                 20   its Plan.

                                                 21   5.4.    United States Trustee Fees
                                                 22           All fees accrued under 28 U.S.C. §1930(a)(6) to date of confirmation shall be paid to the

                                                 23   UST on or before the Effective Date of the Plan. In the event that such fees are not paid by the

                                                 24   Effective Date, Debtor shall promptly pay all such fees. Quarterly fees accruing under 28

                                                 25   U.S.C. § 1930(a)(6) after confirmation shall be paid to the United States Trustee in accordance

                                                 26   with 28 U.S.C. § 1930(a)(6) until entry of a final decree, or entry of an order of dismissal or

                                                 27   conversion to chapter 7.
                                                 28

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                                                  1   5.5.    Withholding and Reporting Requirements
                                                  2           In connection with the Plan and all instruments issued in connection therewith and with

                                                  3   respect to all Distributions pursuant to the Plan, Debtor shall comply with any withholding and

                                                  4   reporting requirements imposed by any federal, state, local, or foreign taxing authority. All

                                                  5   parties entitled to receive a Distribution under the Plan may be required to complete and execute

                                                  6   an IRS Form W-9 or such other forms, providing similar information as may be required prior to

                                                  7   making any Distribution to such party.

                                                  8   5.6.    Implementation Reports and Closing Case
                                                  9           One hundred and twenty (120) days following the Effective Date, Debtor shall file an

                                                 10   implementation report with the Clerk of the Bankruptcy Court setting forth the status of

                                                 11   implementation of the Plan. The initial report shall be served on the UST, Debtors’ 20 largest
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   unsecured creditors, and any other parties who have requested special notice. Upon substantial
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13   consummation of the Plan or as soon thereafter as all matters in the Case have been resolved,
            &Rees
    W. Broadway,
    Gordon&




                                                 14   Debtor will file a motion with the Clerk of the Bankruptcy Court requesting the entry of a Final
    San Suite
   Gordon




                                                 15   Decree closing the Cases.
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                                                 16   5.7.    Indemnification Obligations
                                                 17           Except if and as otherwise provided in this Plan, or any contract, instrument, release, or

                                                 18   other agreement or document entered into in connection with this Plan, or except as otherwise
                                                 19   granted pursuant to a Final Order of the Court entered following the Petition Date and prior to

                                                 20   the Effective Date, any and all indemnification obligations that Debtor has pursuant to a contract,

                                                 21   instrument, release, agreement, certificate of incorporation, by-law, comparable organizational

                                                 22   document or any other document, or applicable law shall be deemed rejected as of the Effective

                                                 23   Date.

                                                 24   5.8.    Post-Confirmation Conversion/Dismissal
                                                 25           A creditor or party in interest may bring a motion to convert or dismiss the case under §

                                                 26   1112 (b), after the Plan is confirmed, if there is a default in performing the Plan. If the Court

                                                 27   orders the case converted to Chapter 7 after the Plan is confirmed, then all property that had been
                                                 28   property of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan, will

                                                                                                     - 15 -
                                                                        AMENDED PLAN OF REORGANIZATION PROPOSED BY DEBTOR
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                                                  1   revest in the Chapter 7 estate, and the automatic stay will be reimposed upon the revested

                                                  2   property only to the extent that relief from stay was not previously granted by the Court during

                                                  3   this case.

                                                  4   5.9.    Interpretation
                                                  5           To the extent that the terms of the Plan are inconsistent with the terms of any agreement

                                                  6   or instrument concerning any claim or equity interest, or any other matter, the terms of the Plan

                                                  7   shall control.

                                                  8   5.10.   Binding Effect
                                                  9           Upon Confirmation of the Plan, the Plan Proponent and all creditors and Equity Interest

                                                 10   Holders, whether or not the Claim of such Creditor is Impaired under the Plan, shall be bound by

                                                 11   the provisions of the Plan pursuant to § 1141(a) of the Bankruptcy Code.
        W. Broadway 2000

                           San Diego, CA 92101
               CA 92101




                                                 12   5.11.   Other Documents and Actions
                   LLP
               ReesLLP
                  Suite
        Diego,2000




                                                 13           Debtor may execute such other documents and take such other actions as may be
            &Rees
    W. Broadway,
    Gordon&




                                                 14   necessary or appropriate to effectuate the transactions contemplated under this Plan.
    San Suite
   Gordon




                                                 15   5.12.   Successors and Assigns
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                                                 16           The rights, benefits, and obligations of any Person named or referred to in the Plan shall

                                                 17   be binding on, and shall inure to the benefit of, the heirs, executors, administrators, successors,

                                                 18   and assigns of such Person.
                                                 19   5.13.   Final Decree
                                                 20           Once the Estate has been fully administered as referred to in Bankruptcy Rule 3022,

                                                 21   Debtor, or other party as the Court shall designated in the plan confirmation order shall file a

                                                 22   motion with the Court to obtain a final decree to close the case.

                                                 23

                                                 24                              [Remainder of Page Intentionally Left Blank]

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                                                                        AMENDED PLAN OF REORGANIZATION PROPOSED BY DEBTOR
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